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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    FITBIT INC,                                          Case No. 3:17-cv-01139-WHO
                                                       Plaintiff,
                                   8
                                                                                             ORDER DISMISSING CASE WITH
                                                v.                                           PREJUDICE
                                   9

                                  10    ALIPHCOM, et al.,                                    Re: Dkt. No. 60
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff Fitbit, Inc. has notified the Court that the parties have entered into a settlement

                                  14   agreement and all claims of this case should be dismissed with prejudice, with each party bearing

                                  15   its own fees and costs. Dkt. No. 60. Fitbit’s motion is GRANTED, the hearing on the motion to

                                  16   dismiss is VACATED and the case is DISMISSED WITH PREJUDICE pursuant to Federal Rule

                                  17   of Civil Procedure 41(a)(2). Each party shall bear its own attorneys’ fees and costs. If defendants

                                  18   disagree with this representation by plaintiff and with the resolution of this case as described

                                  19   above, they shall file an opposition within ten days of the date below and the Court will reopen the

                                  20   case.

                                  21           IT IS SO ORDERED.

                                  22   Dated: January 4, 2018

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                                                                                                      William H. Orrick
                                  25                                                                  United States District Judge
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